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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

       v.                                                  No. 19 Cr. 725 (JPO)

DAVID CORREIA,

                               Defendant.



                      MOTION TO WITHDRAW AS COUNSEL FOR
                           DEFENDANT DAVID CORREIA

       PLEASE TAKE NOTICE that, upon this Notice of Motion to Withdraw, William J.

Harrington and Jeff Marcus, retained counsel for David Correia, move this Court before the

Honorable J. Paul Oetken at the United States District Courthouse, 40 Foley Square, New York,

New York 10007, at such a date and time as the Court may direct, for an Order granting

counsels’ request to withdraw from the case. The basis for the request is set forth in the attached

declarations as required by Local Civil Rule 1.4 and Local Criminal Rule 1.1. Counsel further

request that this motion be accepted ex parte and filed under seal.


Dated: September 21, 2020                          Respectfully submitted,
       New York, NY

                                                   By: /s/ William J. Harrington
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